      Case 24-03238 Document 1-3 Filed in TXSB on 11/18/24 Page 1 of 4
                                                                                               EXHIBIT 3


                                     Global Tetrahedron, LLC
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                                         Chicago, IL 60654

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NOT FOR PUBLIC DISCLOSURE

November 13, 2024

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    Attn: Kelly Toney, Ed Durnil                         Attn: Jeff Tanenbaum


      Re: Best And Final Bid to Acquire Certain Assets of Free Speech Systems, LLC

Global Tetrahedron, LLC (“Global Tetrahedron”) and the Connecticut Families 1
(collectively with Global Tetrahedron, the “Bidders”, “we”, “our”, or “us”) are pleased to
submit this revised best and final joint bid (this “Final Bid”) to acquire certain assets of
Free Speech Systems, LLC (“FSS”) on the terms and subject to the conditions set forth
herein in accordance with that certain Order Granting Trustee’s Motion for Entry of an
Order Authorizing the Winddown of Free Speech Systems, LLC, Case No. 22-33553,
Docket No. 859 (together with any supplemental orders entered in connection therewith,
the “Bidding Procedures Order”).2 The terms of this Final Bid modify the initial bid
submitted by the Bidders on November 8, 2024 (the “Initial Bid”) solely to the extent set
forth herein. The Bidders have submitted a completed IP Assets Auction Overbid Form
(the “Overbid Form”) contemporaneously herewith in accordance with the Chapter 7
Trustee’s instructions, though the terms of this Final Bid shall control in the event of any
discrepancy between this Final Bid and the Overbid Form.

      1. Increased Consideration of At Least $7 Million

We have meaningfully improved the consideration provided in our Initial Bid—our Final
Bid should now be valued at over $7 million of total cash consideration for the Group 5

1
      The “Connecticut Families” are Mark Barden, Jacqueline Barden, Francine Wheeler, David Wheeler,
      Ian Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg, William Sherlach, Carlos M. Soto,
      Donna Soto, Jillian Soto-Marino, Carlee Soto Parisi, Robert Parker, and Erica Ash.
2
      Capitalized terms used but not defined herein shall have the meaning ascribed to such term in the Bidding
      Procedures Order or that certain Offering Memorandum transmitted in connection therewith, as
      applicable.
     Case 24-03238 Document 1-3 Filed in TXSB on 11/18/24 Page 2 of 4
                                                                                                 EXHIBIT 3


 assets. While this Final Bid focuses on the Group 5 assets, we are also willing to acquire
 the Group 4 assets on the same terms as set forth herein; provided that this Final Bid does
 not allocate value to any assets not included in Group 5. The aggregate consideration
 provided by the Bidders consists of the following:
 a. Cash Consideration – Cash consideration in the amount of $1,750,000 to be funded by
    Global Tetrahedron (the “Purchase Price”). The Purchase Price reflects an increase
    of $750,000 as compared to our Initial Bid.
 b. Distributable Proceeds Waiver – As part of this Final Bid, the Connecticut Families
    commit to forego up to 100% of their entitlement to the $1,750,000 Purchase Price
    funded by Global Tetrahedron so that such amounts can be distributed to other
    unsecured creditors of FSS. As a result, and as set forth below, this Final Bid is
    better for other unsecured creditors of FSS even when compared to other Qualified
    Bids that offer up to $7 million of cash consideration for the same Group 5 assets.
    The below table illustrates the effect of the Distributable Proceeds Waiver as compared
    to alternative Qualified Bids submitted at a range of purchase prices.

Proposed Cash        Recovery to             Recovery to              Recovery to           Recovery to
Purchase Price       Non-Connecticut         Non-Connecticut          Connecticut           Connecticut
of Alternative       Family creditors        Family creditors         Families under        Families under
Qualified Bid        under                   under Global             Alternative           Global
                     Alternative             Tetrahedron              Qualified Bid         Tetrahedron
                     Qualified Bid 3         Final Bid                                      Final Bid 4
 $2,000,000          $500,000                $600,000                 $1,500,000            $1,150,000
 $3,000,000          $750,000                $850,000                 $2,250,000            $900,000
 $5,000,000          $1,250,000              $1,350,000               $3,750,000            $400,000
 $7,000,000          $1,750,000              1,750,000                $5,250,000            $0

 As illustrated above, to the extent a third party submits an alternative Qualified Bid for the
 same assets that consists of cash consideration in a higher amount than the Purchase Price
 set forth herein, the Connecticut Families shall effectuate a Distributable Proceeds Waiver

 3
     This table, and the Distributable Proceeds Waiver calculations set forth herein, conservatively assume
     that the Connecticut Families are entitled to 75% of all distributable proceeds and all other creditors are
     entitled to 25%. This allocation is intended to demonstrate the minimum effect of the Distributable
     Proceeds Waiver—the Connecticut Families currently hold 96.7% of all liquidated claims against the
     Debtors. To be clear, to the extent the Connecticut Families’ allowed claims ultimately represent more
     than 75% of all unsecured claims, this Final Bid should be valued at an amount higher than $7 million
     because the Connecticut Families will be able to forego receipt of more than $1,312,500 in favor of other
     creditors. The Connecticut Families reserve all rights with respect to the allowed amounts of all other
     claims.
 4
     In the event an alternative Qualified Bid is submitted that provides for cash consideration in an amount
     greater than $1,750,000, the recovery to be received by the Connecticut Families under this Final Bid
     equals the cash Purchase Price under this Final Bid ($1,750,000) minus the recovery to Non-Connecticut
     Family creditors, consistent with the Distributable Proceeds Waiver.
    Case 24-03238 Document 1-3 Filed in TXSB on 11/18/24 Page 3 of 4
                                                                                           EXHIBIT 3


(as defined in the Initial Bid) and shall forego receipt of the Distributable Proceeds Waiver
Amount, which shall be assigned to the Chapter 7 Trustee for the benefit of all other
unsecured creditors of FSS. The “Distributable Proceeds Waiver Amount” is revised under
this Final Bid so that it shall equal an amount necessary for other unsecured creditors of
FSS (including the Texas Families) to recover $100,000 more (an increase from the $1
amount set forth in the Initial Bid), in the aggregate, than they would recover from the sale
of the Acquired Assets to the otherwise highest Qualified Bid der.
c. Future Revenues – Consistent with our Initial Bid, Global Tetrahedron shall pay a
   portion of future revenues derived from the Acquired Assets to the Connecticut Families
   and the Texas Families on a pro rata basis, as determined by the allowed amount of
   their claims in the Jones chapter 7 case (the “Future Revenue Payments”).5 Global
   Tetrahedron shall cooperate in good faith with the Connecticut Families and the Texas
   Families to determine the amount and timing of such Future Revenue Payments. While
   the present value of the Future Revenue Payments is inherently uncertain and difficult
   to value, such payments must nonetheless be considered by the Chapter 7 Trustee (the
   Connecticut Families—the largest creditors of FSS—place considerable value on such
   payments).

    2. Acquired Assets

As set forth in the Overbid Form, the Bidders seek to acquire the “Group 5” assets, which
includes the assets comprising Lot 1a (production IP with equipment) and Lot 2b
(e-commerce IP without inventory) (the “Acquired Assets”).6 In addition, the Bidders are
willing to acquire the Group 4 assets on the same set of terms; provided that they allocate
no portion of the Purchase Price to any asset included in Group 4 that is not part of Group 5.

                                            *        *        *

We look forward to discussing this Final Bid with the Chapter 7 Trustee and his advisors.
We are confident that this Final Bid, especially when giving consideration to the
Distributable Proceeds Waiver and Future Revenue Payments, constitutes the best and
highest bid for the Acquired Assets.

The Connecticut Families, holders of 96.7% of all liquidated claims against FSS and
Jones, wholly support the terms of this Final Bid and urge the Chapter 7 Trustee to deem
this Final Bid the Successful Bid. The Connecticut Families trust that the Chapter 7
Trustee, in fulfilling his fiduciary duties, would not sell the Acquired Assets to any
purchaser offering less than $7 million for such assets, as such bid would offer less value
to unsecured creditors. Moreover, the Connecticut Families implore the Chapter 7 Trustee

5
    Future Revenue Payments shall consist of payments from the sale of merchandise, promotional items,
    and other assets.
6
    If selected as the Successful Bidder, Global Tetrahedron may determine to form a new subsidiary entity
    for the purpose of acquiring the Acquired Assets. If applicable, Global Tetrahedron will provide prior
    written notice of such entity’s formation to the Chapter 7 Trustee, and will cooperate in good faith to
    provide additional information with respect thereto, as may be requested by the Chapter 7 Trustee.
   Case 24-03238 Document 1-3 Filed in TXSB on 11/18/24 Page 4 of 4
                                                                              EXHIBIT 3


to remember that the best interest of creditors in this case is served by ensuring that the
assets being sold will not be used to continue harassing, victimizing, and defaming the
Connecticut Families (i.e., the very reason this bankruptcy case exists).

Please feel free to contact us with any questions or comments.



                                                 Very truly yours,




                                                  Ben Collins
                                                  Chief Executive Officer
                                                  Global Tetrahedron, LLC




                                                  Christopher M. Mattei
                                                  Koskoff Koskoff & Bieder, PC
                                                  Counsel to the Connecticut Families
